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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

SPIRE STL PIPELINE LLC,                     )
                                            )   Cons. Case No: 4:18-CV-01327
       Plaintiff,                           )
                                            )   THIS DOCUMENT APPLIES
v.                                          )   TO CASE: (4:18-CV-01344)
                                            )
3.31 ACRES OF LAND, MORE OR LESS,           )   Tract No. MO-SC-312.000
SITUATED IN ST. CHARLES COUNTY,             )
STATE OF MISSOURI et al;                    )
                                            )
       Defendants.                          )

           PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S
      MOTION TO EXCLUDE TESTIMONY OF EXPERT APPRAISER COREY SELL

       Plaintiff Spire STL Pipeline LLC (“Spire”), by counsel, submits this Response in

Opposition to Defendant’s Motion to Exclude Testimony of Expert Appraiser Corey Sell (Doc. #

455, 456).

                                         INTRODUCTION

       Defendant has moved to exclude the report and opinion testimony of Spire’s expert

appraiser Mr. Corey Sell (“Mr. Sell”).

       Defendant does not challenge Mr. Sell’s qualifications as an expert real estate appraiser.

Defendant does not challenge Mr. Sell’s reliance on comparable sales or underlying appraisal

methodology. Defendant does not challenge Mr. Sell’s valuation of the Schaeffer parcel before

the imposition of the easements. Defendant does not challenge Mr. Sell’s value of the permanent

easement. Defendant does not challenge Mr. Sell’s value of the temporary easements.

       Nevertheless, Defendant would have the Court completely exclude Mr. Sell from

testifying because he (a) purportedly relied on an unsigned easement agreement to determine

the rights and obligations of the parties, (b) allegedly failed to comply with the Uniform
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Standards of Professional Appraisal Practice (“USPAP”) and (c) found zero damages to the

remainder. See Deft’s Memo. in Supp. (“Memo”) (Doc. # 456), p. 1.

       Defendant does not explain how, if at all, Mr. Sell’s alleged errors render his opinions on

the value of the permanent and temporary easements invalid.

       Defendant’s challenges go to the weight of his testimony, not admissibility, and

Defendant’s arguments demonstrate a fundamental misunderstanding of the law. The Court

should deny Defendant’s motion to exclude.

                                    STANDARD OF REVIEW

       Federal Rule of Evidence 702 (“Rule 702”) governs the admission of expert testimony in

federal court. Lauzon v. Senco Prods., Inc., 270 F.3d 681, 686 (8th Cir. 2001). Rule 702 “favors

admissibility if the testimony will assist the trier of fact.” Clark ex rel. Clark v. Heidrick, 150 F.3d

912, 915 (8th Cir. 1998) (emphasis supplied). “Decisions concerning the admission of expert

testimony lie within the broad discretion of the trial court.” Anderson v. Raymond Corp., 340 F.3d

520, 523 (8th Cir. 2003).

                                            ARGUMENT

1.     Spire’s Response to Defendant’s Point A That “Spire’s [sic] Opinion is Not Relevant
       Because He Relied on The Terms of An Unsigned Easement Agreement, an
       Assumption That is Both Erroneous as a Matter of Fact and Missouri Law.”

       Defendant seeks to prevent Mr. Sell from testifying in this proceeding because he made

certain “assumptions” based on an unexecuted easement agreement. Deft’s Memo, pp. 5-6.

Specifically, Defendant claims Mr. Sell “made many assumptions about the scope of rights

conveyed based on terms of the unexecuted easement with the Schaeffers, including access to

cross, [] restoration [], [] obligation to pay for crops, [and] other assumptions regarding




                                                   2
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easement.” 1   Deft’s Memo, pp. 5-6.      Defendant posits that because Mr. Sell derived his

understanding of these rights from an unexecuted copy of an easement agreement, the Court

should exclude his “opinion”. 2

       For example, Defendant takes issue with regard to Mr. Sell’s “assumption” that Spire’s

rights are limited to the following:

               Construct, operate, maintain, access, lay, reconstruct, install,
               realign, modify, replace, improve, alter, substitute, inspect, patrol,
               repair, abandon in place and remove at will, in whole or in part, a
               pipeline and appurtenant facilities such as below-ground mains,
               pipelining, valves, service connections and above-ground
               structures for the transportation and distribution of natural gas
               and all other purposes incident thereto.

Deft’s Memo, p. 6. 3

1
  Defendant misrepresents the actual record in this proceeding. Mr. Sell testified a third party
provided him with the easement agreement to prepare an initial appraisal for use in pre-suit
settlement negotiations with the landowners. Deft’s Exhibit 2, 20:18 to 21:5, 28:15-20. The
draft report was prepared in November 2017 and never finalized. Id. at 21:6-9, 21:17-24, 22:14-19.
After Spire commenced this condemnation proceeding, Mr. Sell appraised the Schaeffer parcel
again and issued an appraisal in the form of Deft’s Exhibit 1 in February 2020. Mr. Sell did not
include the unexecuted easement agreement with the February Appraisal. Mr. Sell also did not
make any “assumptions” with respect to “obligation to pay for crops”, for example, as Defendant
claims. Rather, Mr. Sell specifically disclaimed inclusion of crop value: “we have not accorded
or allocated any separate consideration to crop value or any value associated with other natural
growth items situated on the subject property, if any. With respect to the permanent and/or
temporary easement areas, these values are, necessarily, inherent within and subsumed by the
value of the land.” Id. at p. 11 (emphasis supplied).
2
  It is unclear which “opinion” Defendant is challenging. Defendant simply claims “[b]ecause
Sell’s opinion turns on an easement agreement that was never executed, his opinion is
unsupported by fact and irrelevant and must be excluded under Daubert.” Deft’s Memo, p. 6
(emphasis supplied). Regardless, as set forth herein, Mr. Sell’s opinions are relevant, reliable,
and therefore admissible.
3
  As a preliminary matter, Spire requested the Court to enter a Final Order and Judgment of
Condemnation on January 31, 2020. See Doc. # 379. The proposed Final Order and Judgment of
Condemnation set forth the interests acquired and Spire’s rights to the easement. However,
Defendant objected to Spire’s request. See Doc. # 399. Thus, there has been no entry of a Final
Order and Judgment of Condemnation. It seems hardly proper for Defendant to complain about
this issue when Defendant objected to Spire’s request for the Court to define the parties’ rights
in and to the easement.
                                               3
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        Defendant cites State ex rel. Missouri Highway & Transp. Com. v. Cowger, 838 S.W2d 144 (Mo.

App. E.D. 1992), claiming the “maximum injury rule” applies in this case and, therefore,

Mr. Sell “was required to assume that Spire would make the maximum use of the rights granted

under the easement.” Deft’s Memo, p. 6. In Cowger, the appellate court explained, “the maximum

injury rule is used only in the absence of detailed construction plans which limit the

condmenor.” 838 S.W2d at 146-47 (emphasis original). The maximum injury rule did not apply

in Cowger because “the design plans were entered into evidence without objection, and show the

nature and extent of the land taken and the location of the highway improvement to the

remaining property . . . .” Id. at 147.

        The maximum injury rule does not apply in this case. Spire attached to its Complaint

the FERC Certificate. See Doc. # 1 (4:18-CV-01344), Exhibit 1; see also Fed. R. Civ. P. 10(c) (“A

copy of a written instrument that is an exhibit to a pleading is a part of the pleading for all

purposes.”). The FERC Certificate identifies, inter alia, Spire’s FERC Application with detailed

construction plans, Environmental Assessment, and Upland Erosion Control, Revegetation, and

Maintenance Plan. 4 These documents detail the scope of the construction project, easements

necessary for the completion of the project, Spire’s post-construction obligations with regard to

restoration, monitoring and revegetation, and rights of the landowners following installation of




4
  A true and correct copy of the FERC Certificate was also attached to Spire’s Motion to
Exclude (Doc. # 452), Exhibit 1, incorporated herein as though fully set forth. In addition, a
true and correct electronic copy of the Environmental Assessment and Upland Erosion Control,
Revegetation, and Maintenance Plan is contained in Spire’s footnotes 2 and 3, respectively, in its
Memorandum of Law in Support of its Motion to Exclude (Doc. # 453), incorporated herein as
though fully set forth.

                                                 4
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the pipeline. 5 Spire will present evidence at trial detailing the nature and extent of the land

taken and rights of the parties in and to the easement area.

        Moreover, in valuing the permanent easement, Mr. Sell did not solely rely on the

unexecuted easement agreement to determine the rights impacted by the pipeline. Rather,

Mr. Sell also considered the easement plat, legal descriptions of the easements and “a number of

factors including, but not limited to, present use of the easement area, future use of the

easement area, building and zoning restrictions, access considerations, market perception as

reported by participants, and the remaining use and utility of the property within the easement

area.” See Deft’s Exhibit 1, p. 21-23 and 27. (Emphasis supplied).

        To satisfy the reliability requirement under Rule 702, the party offering the expert

testimony “must show by a preponderance of the evidence both that the expert is qualified to

render the opinion and that the methodology underlying his conclusions is scientifically valid.”

Barrett v. Rhodia, Inc., 606 F.3d 975, 980 (8th Cir. 2010). Defendant does not challenge Mr. Sell’s

qualifications and concedes Mr. Sell’s underlying appraisal methodology—Sales Comparison

Approach—was proper. His opinions are therefore reliable.

        Defendant only challenges Mr. Sell’s “opinion” based on relevancy. An expert opinion is

relevant if it “will assist the trier of fact to understand the evidence or to determine a fact in

issue.” Rule 702; see also Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 591, 113 S. Ct. 2786, 125 L.

Ed. 2d 469 (1993). In this case, the issue is the amount of just compensation owed to Defendant

for the taking of the permanent and temporary easements. Defendant does not challenge




5
 See e.g., Environmental Assessment, Section A.8.5 (“Active cropland would be allowed to revert
to pre-construction use for the full width of the right-of-way.”).
                                                  5
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Mr. Sell’s value of the permanent easement ($7,933) or temporary easements ($6,213). 6 As such,

Mr. Sell’s “assumptions” based partially on the easement agreement, even if incorrect, do not

render his opinions on the value of the permanent or temporary easements invalid under the

circumstances. See e.g., Cashman v. Allied Prods. Corp., 761 F.2d 1250, 1255 (8th Cir. 1985) (holding

testimony was admissible even though some opinions were based in incomplete assumptions).

       The crux of Defendant’s challenge, as far as Spire can discern, centers on Mr. Sell’s

assessment of no damage to the remainder. Specifically, in finding no damage to the remainder,

Defendant claims it was improper for Mr. Sell to “assume”, based on the unexecuted easement

agreement, that Spire would “restore the surface of the ground disturbed by their use of the

permanent easement and temporary work space areas, whether during initial construction or

later, to substantially the same condition as its prior condition.” Deft’s Memo, p. 6 (citing

Mr. Sells’ deposition testimony discussing page 28 of his Appraisal). However, Defendant’s

counsel asked Mr. Sell at deposition, “[i]f the easement agreement had not been signed, would

this statement about restoration still be accurate” to which Mr. Sell responded: “Yes, because

it’s the intention of Spire.” Deft’s Exhibit 2, 54:10-14 (emphasis supplied). This is consistent

with Spire’s legal obligations under the FERC Certificate, Environmental Assessment and

Upland Erosion Control, Revegetation, and Maintenance Plan with regard to post-construction

restoration, monitoring and revegetation. See Spire’s Memorandum in Support of Motion to

Exclude (Doc. # 453), pp. 5-9, incorporated herein as though fully set forth.

       Further, Mr. Sell had an independent basis to support no damage to the remainder.

As Mr. Sell explained, “based upon our knowledge, experience, review of peer-published studies
6
 This is not surprising because Mr. Sell valued the temporary easements $1,813 more than
Defendant’s appraiser, who valued the temporary easements at $4,400 (rounded). See Spire’s
Exhibit 10 (Howard Report), p. 20. Spire attached Ms. Howard’s report to Spire’s
Memorandum in Support of Motion to Exclude (Doc. # 453, 454) as Exhibit 10.

                                                 6
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regarding the impact of pipeline easement on property values, and those factors previously

mentioned, we do not believe the value of the area outside the easement is diminished to any

extent by the location of the easement area relative to the area outside the easement. Despite the

location of the proposed permanent easement, the subject property can continue to be utilized

for agricultural purposes.” Deft’s Exhibit 1, p. 29. Thus, Mr. Sell’s opinion does not “turn[] on

an easement agreement that was never executed,” as Defendant suggests. This is not the case,

unlike Defendant’s experts, see Spire’s Memorandum in Support of Motion to Exclude (Doc. #

453), Sections E and F, pp. 17-26, where Mr. Sell’s opinions are “so fundamentally unsupported

that it can offer no assistance to the jury .” Synergetics, Inc. v. Hurst, 477 F.3d 949, 956 (8th Cir.

2007) (explaining “so long as the methods employed are scientifically valid, Appellants’ mere

disagreement with the assumptions and methodology used does not warrant exclusion of expert

testimony.”) (Emphasis supplied).

B.     Spire’s Response to Defendant’s Point B That “Mr. Sell’s Opinion Is Unreliable
       Because His Finding of Zero Damages to the Remainder Is No Longer Accepted by
       the Relevant Community or In the Peer Reports that Sell Cited.”

       “To satisfy the reliability requirement, the party offering the expert testimony ‘must

show by a preponderance of the evidence both that the expert is qualified to render the opinion

and that the methodology underlying his conclusions is scientifically valid.” Barrett v. Rhodia, Inc.,

606 F.3d 975, 980 (8th Cir. 2010) (quoting Daubert, 509 U.S. at 589-90).

       Defendant claims, without challenging Mr. Sell’s qualifications, that his “opinion that a

pipeline that runs through agricultural land has zero impact on the remainder deviates from

general and growing consensus that partial takings for gas pipelines have impacts to the

remainder of the property.” Deft’s Memo, p. 7.




                                                  7
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       First, Defendant claims Appraisal of Real Estate Guide (14th Ed.), a book published by

Appraisal Institute, undermines Mr. Sell’s finding of no damage to the remainder simply because

“a property that enjoys the benefits of an easement gains additional rights, while a property that

is subject to an easement is burdened.” Deft’s Memo, pp. 7-8. 7 This argument misses the mark.

The section cited by Defendant is the basic definition of an easement. Of course a property that

is subject to an easement is burdened, which is why Mr. Sell estimated compensation for the

rights acquired by Spire. Whether or not damages to the remainder exist is an entirely

different discussion and something that is specific to a given property.

       Specifically, as demonstrated by the references to the peer-reviewed articles contained in

Mr. Sell’s report, whether damage to the remainder exists is to be determined on a cases-by-

cases basis taking into consideration several factors, including whether the taking changes the

highest and best use of the property. See Deft’s Exhibit 7(b), p. 4 (The Valuation of Easements by

Mr. Don Sherwood: “Damages resulting from a temporary or permanent easement are difficult to

measure. A key question is whether the easement affects the use and/or utility of the property

that results in a change in highest and best use.”); see also Spire’s Exhibit 26 8, Appraising Pipeline

Easements, A Practical Approach (explaining damage to the remainder may be proper when there is

“1) change in highest and best use; 2) increased cost or restrictions on existing uses; and 3) limits

on future development or use.”).

       Based on his knowledge, experience and review of the peer reviewed articles, Mr. Sell

assigned no damage to the remainder because he found, inter alia, Defendant still utilizes the

7
  Defendant does not attach a copy of the book but cites Amazon.com in footnote 2 where the
parties and the Court can presumably purchase the book to verify to truth and accuracy of the
information cited.
8
 Spire’s Exhibits attached hereto follow the exhibits in sequential order attached to Spire’s
Motion to Exclude and Memorandum in Support [Doc. #’s 452-454].
                                             8
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property for agricultural purposes following the installation of the pipeline and, thus, no change

in the highest and best use. Deft’s Exhibit 1, p. 29; see also Spire’s Exhibit 27 (Deft’s Answer to

Third Interrogatories), ¶ 24 (in which Defendant confirmed “the parcel is still used for farming

and Defendant will not claim that it can no longer be used for farming.”) (Emphasis

supplied); and Spire’s Exhibit 10 (Howard Report), p. 8 (finding no change in highest and best

use following installation of the pipeline).

       Indeed, Ms. Howard conceded the presence of pipelines encumbering agricultural

property in north St. Charles County does not affect market value, which supports Mr. Sell’s

opinion that there is no damage to the remainder. The following colloquy occurred at

Ms. Howard’s deposition:

               Q.      On your first comparable sale on page 9 of your appraisal
                       report, there’s a reference to that property being
                       encumbered by I believe a gas pipeline and ammonia
                       pipeline; is that right?

               A.      Yes.

               Q.      And what was the sale price for that comp?

               A.      $10,136 per acre.

               Q.      Did you conclude that the existence of the gas pipeline and
                       the ammonia pipeline on your first comparable sale
                       negatively impacted market value of that property?

               A.      No, I did not.

               Q.      Similar question with regard to your second comparable
                       sale on page 10. That one is also encumbered by a gas
                       pipeline. Is that accurate?

               A.      Yes.

               Q.      Did you conclude that the sale price of your second
                       comparable sale was negatively impacted by the existence
                       of that gas pipeline on the property?

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                  A.      No.

 Spire’s Exhibit 11 (Howard Depo.), 65:8 to 66:5. Ms. Howard testified, consistent with Mr. Sell,

 that whether a pipeline influences the market value of property is determined on a case-by-case

 basis, considering the effects on the utility, functionality or features of the specific property at

 issue. Id. at 31:3 to 33:8.

         Defendant next cites various cases in Missouri claiming Mr. Sell’s report is “out of step

 with trends under Missouri law.” Deft’s Memo, p. 8. Only one case involved the exclusion of an

 expert opinion, Glaize Creek Sewer Dist. V. Gorham, 335 S.W.3d 590, 593-94 (Mo. App. E.D. 2011).

 Glaize, however, did not involve a pipeline, but a sewer easement. In addition, the appellate

 court analyzed the admissibility of expert testimony based on then Missouri law, not the

 Federal Rules of Evidence. Further, the expert in Glaize assessed $0.00 in damages based on

 visual observation alone with no data to support the opinion. Id. at 594-95. This case is clearly

 distinguishable from Glaize.

         City of Maryland Heights v. Heitz, 358 S.W.3d 98 (Mo. App. E.D. 2011) and St. Charles City v.

 Olendorff, 234 S.W.3d 492 (Mo. App. E.D. 2007) also did not involve pipelines or evidentiary

 issues relating to remainder damages, and are not helpful to Defendant or relevant to this case.

         The only cases Defendant cites that involved pipelines are Wood River Pipeline Co. v. Sommer,

 757 S.W.2d 265, 267 (Mo. App. E.D. 1988) and Missouri Pipeline Co. v. Wilmes, 898 S.W.2d 682, 685

 (Mo. App. E.D. 1995). However, both experts in those cases assessed no damage to the

 remainder and there were no issues with the admissibility of those opinions.

         Mr. Sell bases his opinion of no damage to the remainder on sufficient facts or data, his

 opinion is the product of reliable principles and methods, and it is clear he has reliably applied



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 the principles and methods to the facts of the case. His opinion is therefore reliable, admissible

 and Defendant is free to cross-examine Mr. Sell at trial on this issue.

 C.      Spire’s Response to Defendant’s Point C That “Mr. Sell’s Opinion Is Unreliable
         Because He Made and Did Not Disclose Extraordinary Assumptions in Violations of
         USPAP.”

         Defendant posits that Mr. Sell should have identified Spire’s obligation to “restore the

 property” as an “extraordinary assumption” because it is possible “Mr. Sell is wrong” and “Spire

 has already finished restoration.” Deft’s Memo, p. 9. 9

         Spire’s obligation to “restore the property” is not an extraordinary assumption. This is

 because Spire is legally obligated to continue post-construction monitoring, restoration and

 revegetation within the easement in accordance with the FERC Certificate, Environmental

 Assessment and Upland Erosion Control, Revegetation, and Maintenance Plan. See Spire’s

 Memorandum in Support of Motion to Exclude (Doc. # 453), pp. 8-15, incorporated herein as

 though fully set forth. 10




 9
  Defendant also misrepresents the deposition testimony of Mr. Sell, claiming he “acknowledges
 extra cost to landowners that [sic] would change the outcome of his opinion.” Deft’s Memo, p. 9.
 Mr. Sell testified that if there was a change in soil productivity or composition such that the
 property’s highest and best use changed, then there may be an impact on value. See Deft’s
 Exhibit 2, 81:22 to 82:12. That is not the case, however, because the pipeline has not caused a
 change in the highest and best use of the property. See Deft’s Exhibit 1, p. 29.
 10
   Even if this was an extraordinary assumption, Mr. Sell had a reasonable basis for “assuming”
 Spire would comply with the FERC Certificate. Defendant claims the deposition testimony
 from Spire’s representatives contradicts Mr. Sell’s “assumption”. Once again, Defendant
 misrepresents the record. Spire’s corporate representatives testified that Spire will, in
 accordance with the FERC Certificate, Environmental Assessment and Upland Erosion Control,
 Revegetation, and Maintenance Plan, continue to monitor restoration and revegetation within
 the right-of-way for post-construction issues. Spire’s Exhibit 8 (D. Sipe Depo.), 79:20 to 80:13,
 82:2-20, 92:6 to 93:24. If a landowner reports a condition within the right-of-way to Spire, Spire
 will investigate the condition and cure any identifiable defects caused by the installation of the
 pipeline. Spire’s Exhibit 9 (R. English Depo.), 30:13 to 31:4, 35:5-14, 36:21 to 37:3.
                                                  11
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        Even assuming, arguendo, Spire’s obligation to continue post-construction monitoring,

 restoration and revegetation within the easement is an extraordinary assumption, strict

 compliance with USPAP is not a precondition to admissibility.

        Defendant cites Whitehouse Hotel L.P. v. Comm’r, 615 F.3d 321, 332 (5th Cir. 2010) and

 Kilbride Invs. Ltd. v. Cushman & Wakefiled of Pa., Inc., 2018 U.S. Dist. LEXIS 72221 (E.D. Pa. April 26,

 2018) to support the proposition that non-compliance with USPAP is sufficient grounds to

 exclude Mr. Sell’s opinion. Neither case aids Defendant.

        In Whitehouse, the Court of Appeals for the Fifth Circuit explained compliance with

 USPAP is “relevant to the weight” of the expert’s opinion, not admissibility. 615 F.3d at 332

 (emphasis original). Similarly, in Kilbride, the district court explained that even if the expert

 failed to comply with USPAP, the expert’s opinion was sufficiently reliable. 2018 U.S. Dist.

 LEXIS at *19-24.

        Thus, even if Spire’s obligation to “restore the property” was an extraordinary

 assumption under USPAP and Mr. Sell failed to identify the obligation as an extraordinary

 assumption, Mr. Sell’s alleged non-compliance with USPAP is not grounds to strike Mr. Sell’s

 opinion because his opinion of no damage to the remainder is sufficiently reliable and, therefore,

 admissible. Defendant, of course, is free to cross-examine Mr. Sell’s opinion at trial.

                                            CONCLUSION

        For the reasons stated herein, Spire respectfully requests that the Court enter an Order

 denying Defendant’s Motion to Exclude the testimony of Mr. Sell, and grant such other and

 further relief as is just and proper under the circumstances.




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                                                    Respectfully submitted,

                                                    HAMILTON WEBER LLC


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                                      CERTIFICATE OF SERVICE

         The undersigned certifies that a true and correct copy of the foregoing document was

 served this 8th day of July, 2020, by Notice of Electronic Filing pursuant to Fed. R. Civ. P.

 5(b)(2)(E), to:

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 Counsel for Defendants Dennis H. Schaeffer Trust
 Dated March 2, 1995 et al.



                                                    /s/ David. T. Hamilton




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